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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03010-APM

 v.                                                    HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.




 State of Colorado, et al.,

                                Plaintiffs,            Case No. 1:20-cv-03715-APM

 v.                                                    HON. AMIT P. MEHTA
 Google LLC,

                                Defendant.




                                     JOINT STATUS REPORT

       Pursuant to the Court’s Minute Entry of May 24, 2022 and Order of May 25, 2022, ECF

No. 357, the parties in United States v. Google LLC and State of Colorado v. Google LLC submit

the following Joint Status Report summarizing the state of discovery and identifying any issues

between the parties, and the parties’ respective positions, that will be raised at the status hearing

scheduled for June 17, 2022.
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I.     Case No. 1:20-cv-03010

       A.      Google’s Discovery of Plaintiffs

       A summary of Google’s First Set of Requests for Production and prior document

productions made by Plaintiffs are set forth in the parties’ earlier Joint Status Reports, including

their reports dated February 23 (ECF No. 111), March 28 (ECF No. 124), April 23 (ECF No.

131), May 24 (ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF

No. 191), September 24 (ECF No. 223), October 26 (ECF No. 248), November 23 (ECF No.

256), January 4 (ECF No. 271), February 8 (ECF No. 285), March 4 (ECF No. 315), April 4

(ECF No. 333), and May 10 (ECF No. 351).

       Plaintiffs served supplemental responses to Google’s First Set of Interrogatories on May

18 and June 10 as well as supplemental responses to Google’s Second Set of Interrogatories on

June 10 and June 14.

       Plaintiffs served five expert reports on Google on June 6, and served related and

underlying support for those reports on June 13.

       B.      Plaintiffs’ Discovery of Google

       A summary of Plaintiffs’ First through Thirteenth Sets of Requests for Production and the

document productions previously made by Google are set forth in the parties’ earlier Joint Status

Reports, including their reports dated February 23 (ECF No. 111), March 28 (ECF No. 124),

April 23 (ECF No. 131), May 24 (ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No.

165), August 27 (ECF No. 191), September 24 (ECF No. 223), October 26 (ECF No. 248),

November 23 (ECF No. 256), January 4 (ECF No. 271), February 8 (ECF No. 285), March 4

(ECF No. 315), April 4 (ECF No. 333), and May 10 (ECF No. 351).

       Google produced additional documents on May 11, 12 and 27, and on June 3 and 6.

Google produced additional data on May 25 and June 10.

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       Google served supplemental responses to Plaintiffs’ Second Set of Interrogatories on

May 18.

       Google served supplemental responses to Plaintiffs’ First Set of Requests for Admission

on May 25.

       Google served supplemental responses to Plaintiffs’ data 30(b)(6) notice on May 27.

       Google served supplemental responses to Plaintiffs’ Fourth Set of Interrogatories on May

31.

       Google served eight expert reports on Plaintiffs on June 6, and served related and

underlying support for all but one of those reports on June 13.

       C.      Identification of Unresolved Requests and Disputes

       Pursuant to the Court’s May 25, 2022 Order, ECF No. 357 at 2, the parties have

identified the following unresolved disputes.

       The parties respectfully seek the Court’s guidance on a dispute regarding Request No. 1

of U.S. Plaintiffs’ Thirteenth Requests for Production. U.S. Plaintiffs’ position statement on this

issue is set forth below in Section III.A, Plaintiff States’ position statement is set forth below in

Section III.B, and Google’s position statement is set forth in Section III.C.

       The parties respectfully seek the Court’s guidance on a dispute regarding the timing of

any requests by Plaintiffs to reopen depositions in light of Google’s production of deprivileged

documents. U.S. Plaintiffs’ position statement on this issue is set forth below in Section IV.A,

Plaintiff States’ position statement is set forth in Section IV.B, and Google’s position statement

is set forth in Section IV.C.

       The parties respectfully seek the Court’s guidance on a dispute regarding Plaintiffs’

responses to Interrogatory Nos. 8 and 10 of Google’s Second Set of Interrogatories. Google’s



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position statement on this issue is set forth in Section V.A., U.S. Plaintiffs’ position statement is

set forth in Section V.B., and Plaintiff States’ position statement is set forth in Section V.C.

       The parties have, pursuant to this Court’s direction at the February and May status

conferences, conferred regarding presentations to be delivered to the Court before summary

judgment briefs are filed. The parties jointly propose certain aspects of the presentations in

Section VI.A. The parties respectfully seek the Court’s guidance regarding the remaining,

disputed aspects. U.S. Plaintiffs’ and Plaintiff States’ position statement is set forth in Section

VI.B, and Google’s position statement is set forth in Section VI.C.

       D.      The Parties’ Discovery of Third-Parties

       A summary of the third-party discovery requests previously issued by the parties is set

forth in the parties’ earlier Joint Status Reports, including their reports dated February 23 (ECF

No. 111), March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF No. 135), June 24

(ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), September 24 (ECF No. 223),

October 26 (ECF No. 248), November 23 (ECF No. 256), January 4 (ECF No. 271), February 8

(ECF No. 285), March 4 (ECF No. 315), April 4 (ECF No. 333), and May 10 (ECF No. 351).

II.    Case No. 1:20-cv-03715

       A.      Google’s Discovery of Plaintiff States

       A summary of Google’s First Set of Requests for Production and the document

productions made by Plaintiffs to date are set forth in the parties’ earlier Joint Status Reports,

including their reports dated March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF

No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), September

24 (ECF No. 223), October 26 (ECF No. 248), November 23 (ECF No. 256), January 4 (ECF

No. 271), February 8 (ECF No. 285), March 4 (ECF No. 315), April 4 (ECF No. 333), and

May 10 (ECF No. 351).

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       Plaintiff States served Supplemental Responses and Objections to Google’s Second Set

of Interrogatories on June 9.

       Plaintiffs served two expert reports on Google on June 6, 2022, and served related and

underlying support for those reports on June 13, 2022.

       B.      Plaintiff States’ Discovery of Google

       A summary of Plaintiff States’ First through Seventh Sets of Requests for Production and

the document productions previously made by Google are set forth in the parties’ earlier Joint

Status Reports, including their reports dated March 28 (ECF No. 124), April 23 (ECF No. 131),

May 24 (ECF No. 135), June 24 (ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No.

191), September 24 (ECF No. 223), October 26 (ECF No. 248), November 23 (ECF No. 256),

January 4 (ECF No. 271), February 8 (ECF No. 285), March 4 (ECF No. 315), April 4 (ECF No.

333), and May 10 (ECF No. 351). Google has continued to produce to Plaintiff States the

documents and data produced to the U.S. Plaintiffs and its co-plaintiffs in Case No. 1:20-cv-

03010 in addition to producing documents and data in response to Plaintiff States’ First through

Seventh Sets of Requests for Production.

       Google served Supplemental Responses and Objections to Plaintiffs’ Third Set of

Interrogatories on May 20 and June 1.

       Google served Supplemental Responses and Objections to Plaintiffs’ Second Set of

Requests for Admission on June 1.

       Google served eight expert reports on Plaintiffs on June 6, 2022, and served related and

underlying support for all but one of those reports on June 13, 2022.

       C.      The Parties’ Discovery of Third-Parties

       A summary of the third-party discovery requests previously issued by the parties is set

forth in the parties’ earlier Joint Status Reports, including their reports dated February 23 (ECF

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No. 111), March 28 (ECF No. 124), April 23 (ECF No. 131), May 24 (ECF No. 135), June 24

(ECF No. 149), July 27 (ECF No. 165), August 27 (ECF No. 191), September 24 (ECF No. 223),

October 26 (ECF No. 248), November 23 (ECF No. 256), January 4 (ECF No. 271), February 8

(ECF No. 285), March 4 (ECF No. 315), April 4 (ECF No. 333), and May 10 (ECF No. 351).

III.    The Parties’ Dispute Regarding Request No. 1 of U.S. Plaintiffs’ Thirteenth
        Requests for Production

        A.      U.S. Plaintiffs’ Position Statement

        The Court should order Google to produce documents linked to those already provided in

discovery, as required by Plaintiffs’ document requests.

        Google employees routinely use hyperlinks to share company documents internally.

Because of this practice, many significant documents in this case contain hyperlinks to other

Google documents. In some cases, Google employees include hyperlinks in emails to transmit

documents much like including an attachment would. In other cases, employees include

hyperlinks in non-email documents (such as memoranda, presentations, or spreadsheets) as a

means of providing additional detail or context on the subject of the document. For both of these

categories, the linked documents are often necessary for the proper interpretation of the parent

documents. Despite Plaintiffs’ request, Google has not produced many of these linked-to

documents and largely refuses to do so, even in cases where the linked-to documents appear

directly relevant to the litigation.

        Plaintiffs have attempted to negotiate a compromise on this issue, but Google has not

offered a meaningful solution. For the reasons discussed below, the Court should order Google to

(1) produce the linked-to documents contained within the set of materials that Google and its

vendors have already collected for purposes of this case, and (2) produce up to 1,000 additional

linked-to documents that Plaintiffs may identify on a case-by-case basis no later than December


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31, 2022. Google’s production of these linked documents would ensure that Plaintiffs, and

ultimately the Court, have relevant information needed to interpret the already-produced

documents.

                  1.    Background

       In the ordinary course of business, Google employees use cloud-based applications such

as Google Docs, Google Sheets, and Google Slides. These applications allow employees to share

a hyperlink to the “live” version of a document saved in a central location on the company’s

servers. Sharing a document in this manner, rather than attaching or appending a local copy of

the document (as is often done with documents created in other applications, such as Microsoft

Word, Excel, or PowerPoint), allows Google’s employees to collaborate on the document in real

time. For this reason, Google employees routinely share documents by sending hyperlinks rather

than by other means.1

       Due to this practice, hyperlinks appear within both emails and non-email documents

throughout Google’s productions in this case. For some hyperlinks, Google has produced the

linked-to document and associated metadata connecting the linked document to the parent

document. But for others, Google either (1) has not produced the linked-to document, or (2) has

produced the linked-to document but without metadata sufficient to connect it to the parent

document. In these instances, without appropriate metadata, Plaintiffs have no indication of

whether the linked-to document is missing, withheld for privilege, or located elsewhere in the

production set.




1
 See Deposition of John Yoo (Google), March 30, 2022, 87:24–88:7 (“Q. Is including a hyperlink the
way that you normally send a document to others within Google? A. Yes. Q. Why do you do that as
opposed to using an attachment? A. Because our work is done on Google Sheets or Google Docs or
Google Slides. And so I link to that -- to that document rather than downloading and attaching.”).

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         For example, in one produced email, Google’s Chief Financial Officer shared a weekly

financial update on the company’s performance (including the services at issue in this case) with

the Chief Executive Officer.2 The email contains a high-level summary of the update and

includes the statement “Here is the weekly Alphabet financial update.” The word “Here” has a

hyperlink. This hyperlink appears to link to a separate Google document containing the full

financial update, but when Google produced the email, the company either (1) did not produce

the hyperlinked document containing the full financials, or (2) did not provide metadata

connecting the hyperlinked document to the email. Thus, Plaintiffs had no way to know whether

Google had produced the financial document hyperlinked within the CFO’s email, and if so, how

to identify it in the production set.

         Similarly, a produced document from the company’s 2021 annual planning process

contains a high-level summary of Google’s business plans for several product areas, including

search and search advertising.3 The document then includes hyperlinks to more detailed business

plans and financial information. But, again, Google either (1) did not produce the hyperlinked

documents containing that information, or (2) did not provide metadata connecting those

documents to this one. This left Plaintiffs unable to access the more detailed information

contained in these linked-to documents.

         Recognizing this issue, during fact discovery Google agreed to a protocol to identify and

produce documents linked within responsive emails. 4 But even after Google applied this


2
    GOOG-DOJ-30670501.
3
    GOOG-DOJ-29791419.
4
  See Letter from Franklin Rubinstein to Jeremy Goldstein, January 15, 2021, at 1–2 (“1. For all emails
produced by Google, Google will conduct an automated search to identify all links within emails that are
linked to shared G Suite documents (Google Docs, Google Sheets, and Google Slides). 2. For each link
identified, Google will conduct an automated search for the document corresponding with the link. The

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protocol, many of the hyperlinks within both emails and non-email documents Google produced

did not have corresponding linked-to documents in the production set. Accordingly, as Plaintiffs

came across these materials (such as the documents described above) Plaintiffs identified them

for Google and requested the linked-to documents on a case-by-case basis. Although Google

generally responded to these requests, it adopted a narrow interpretation of its obligation to do so

and often provided untimely or incomplete information.5

        Given Google’s posture and the pervasiveness of this issue, Plaintiffs issued their

Thirteenth Request for Production of Documents, Request No. 1 (the “RFP”) on April 5, 2022.

The RFP calls for Google to produce all linked-to documents that are in Google’s custody,

control, or possession, as well as metadata sufficient to identify the connection between each

linked-to document and the parent document containing the hyperlink (or, where a hyperlinked




search will be over the collection sets of documents for the custodians that received the email(s)
containing the link. 3. Google will process and produce the documents corresponding with the email links
as though they were separate documents. 4. For each email containing a link to a document located
through the process above [both the parent document and linked-to document would be produced with
sufficient metadata to tie the documents together].”). This letter did not resolve Google’s obligations as to
documents linked within non-emails, see id. at 2 (“For links contained in documents that are not email,
such as presentations (and not subject to the process described above), Google agrees to meet and confer
regarding any requests by Plaintiffs for Google to produce documents or metadata that correlate with such
links.”), nor did it provide an end date for Google’s obligations.
5
  For example, as to the business planning document discussed above (GOOG-DOJ-29791419), Plaintiffs
asked Google on February 3 to prioritize producing or identifying the missing linked-to documents by
February 8 “in light of upcoming depositions.” Google did not do so. Plaintiffs contacted Google again
regarding this issue on February 14 but did not receive a response. Google identified the linked-to
documents only after Plaintiffs then raised the prospect of rescheduling the relevant deposition, which
was scheduled to take place just three days later. As to the CFO’s email discussed above (GOOG-DOJ-
30670501), Plaintiffs asked Google on March 23 to identify the missing linked-to document by March 30.
Google did not do so. Plaintiffs have followed up with Google regarding this request on April 12, May
26, and June 8. To Plaintiffs’ knowledge, Google still has not produced or identified the linked-to
document. Google now states that it will resolve outstanding requests for individual linked-to documents,
including this one, by the date of the status conference on June 17.


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document has been withheld for privilege, metadata sufficient to identify the corresponding entry

on the privilege log).6

        Based on Google’s representations, Plaintiffs believe that the parties have reached an

agreement as to the metadata component of the RFP. The parties have reached an impasse,

however, as to which additional linked-to documents Google will produce.

                2.        The Court Should Order Google to Provide Meaningful Access to
                          Linked-to Documents

        There is no question that the linked-to documents are relevant. As discussed above, these

documents often either resemble email attachments or are used to provide additional detail on, or

context for, the responsive documents within which they are linked. Despite the obvious

importance of these linked documents, Google proposes to limit Plaintiffs to 200 linked

documents that Plaintiffs must request by June 20, 2022. This proposal is inadequate. It would

leave Plaintiffs without access to thousands of linked-to documents that Google and its counsel

have already collected and would deprive Plaintiffs of the ability to obtain additional linked-to

documents moving forward, including through the remainder of expert discovery and summary

judgment. The Court should order Google to provide more meaningful access to these materials.



6
  See Plaintiffs’ Thirteenth Request for Production of Documents, Request No. 1 (“For each document
that Google produced or will produce in response to U.S. CID No. 30120, a request for production issued
in this action, or a request for production issued in State of Colorado, et al., v. Google LLC, 20-cv-3715
(D.D.C.), and that contains at least one hyperlink to a document currently or previously within Google’s
custody, control, or possession, produce: (a) the linked-to document(s) within Google’s custody, control,
or possession and the metadata required to establish the relationship between the parent and linked-to
document(s), namely, the LinkedAttachmentIDs for the parent document and the LinkedParentIDs for the
linked-to document(s); (b) for any linked-to document(s) within Google’s custody, control, or possession
that Google is withholding for privilege, both a placeholder TIFF image for the linked-to document
indicating that the linked-to document(s) has been withheld for privilege and the metadata requested in
subsection (a) for the parent document and the placeholder TIFF image; and (c) for any linked-to
document(s) that was but is no longer within Google’s custody, control, or possession,
LinkedAttachmentIDs for the parent document populated with information (e.g., ‘Linked Document
Missing’) indicating that the linked-to document(s) is missing.”).


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        First, the Court should order Google to produce the linked-to documents that Google and

its vendors have already collected. Google has stated that this group of documents “could be in

the tens of thousands.”7 As it stands, Google has the benefit of using these linked-to documents

to interpret produced documents containing the hyperlinks, but Plaintiffs do not. Google could,

for example, include in a summary judgment brief a document that is linked within one of

Plaintiffs’ exhibits and argue that the linked-to document contextualizes the exhibit in ways

previously unknown to Plaintiffs. The Court should reject this unfair outcome, particularly in

light of the minimal burden of producing these already-collected documents.

        Second, the Court should order Google to produce up to 1,000 additional linked-to

documents that Plaintiffs may identify on a case-by-case basis no later than December 31, 2022.

This component of Plaintiffs’ proposal is important because, even if Google produces the

documents it has already collected, this would leave Plaintiffs without access to a wide range of

documents that have not been collected (e.g., documents that are linked in responsive emails but

were not swept up by Google’s original document collection). Given the breadth of materials

produced in this case, there is little doubt that certain of these materials will become more

important as the case moves forward. Ensuring Plaintiffs’ access to important linked-to

documents ensures a level playing field as we complete expert discovery and move to briefing

and trial.




7
  Letter from Franklin Rubinstein to Alex Cohen, May 2, 2022, at 2. Google states that it has provided
Plaintiffs with all collected documents that are linked within emails but not those linked within non-email
documents. See Letter from Karl Herrmann to Franklin Rubinstein, May 26, 2022, at 1–2. Even as to
emails, Google has not produced many of the linked-to documents because they were not collected in the
first place. Given Google’s claim as to its practices thus far, it is not clear why certain documents that are
very likely to have been collected, such as the financial document linked within the CFO’s email
discussed above (GOOG-DOJ-30670501), have not yet been produced (with metadata sufficient to
identify them).

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       Plaintiffs’ proposed approach is consistent with how other courts have addressed this

issue in the past. In IQVIA, Inc. v. Veeva Systems, Inc., Veeva had produced “over 2,200

documents that purport to link to or otherwise reference documents from the Google Drive,

without actually attaching the documents from the Google Drive.” IQVIA, INC. v. Veeva

Systems, Inc., No. 2:17-CV-00177-CCC-MF, 2019 WL 3069203, *1 (D.N.J. July 9, 2019). The

special master ordered Veeva to produce the linked-to documents in a manner that connected

them to the documents containing the hyperlinks, noting that “IQVIA has no way to link the

documents, only Veeva is capable of [doing so.]” Id. at *5. See also Kelly v. Provident Life &

Accident Ins. Co., No. 04-CV-0807-WQH, 2009 WL 10664172, at *5 (S.D. Cal. May 29, 2009)

(“The Court agrees that any documents at the end of the hyperlinks must be produced.”); In re

Telxon Corp. Sec. Litig., No. 5:98-CV-2876, 2004 WL 3192729 (N.D. Ohio July 16, 2004)

(holding that PwC should have produced materials linked within its work papers).

       In support of its position, Google relies on Nichols v. Noom, Inc., No. 20-CV-2677, 2021

WL 948646 (S.D.N.Y. Mar. 11, 2021). In that case, Nichols requested that Noom conduct a

broad and duplicative “new collection” of the same documents that Noom had already collected,

which the court found to be “redundant.” Id. at 4 (emphasis added). Here, by contrast, the

significant majority of the documents that Plaintiffs are requesting have already been collected,

and Plaintiffs are not proposing that any documents that have already been collected be

recollected. Moreover, while the court in Noom did not grant the full relief that Nichols

requested, it held that “if there were certain documents discovered in the production containing

hyperlinks for which the corresponding hyperlinked document could not be located or identified,

Plaintiffs could raise the issue with Noom and Noom would be required to provide the document

or Bates number.” Id. at *2. The court explained that this process “will allow Plaintiffs to



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evaluate Noom’s production and, if Plaintiffs determine there is a need for an additional targeted

pull or production or clarifying information about a hyperlinked document's identity or Bates

number, Plaintiffs can request it.” Id. at *4. Google’s proposal would curtail Plaintiffs’ ability to

make such requests going forward.

       For the foregoing reasons, the Court should order Google to (1) produce the linked-to

documents contained within the set of materials that Google and its counsel have already

collected for purposes of this litigation, and (2) produce up to 1,000 additional linked-to

documents that Plaintiffs may identify on a case-by-case basis no later than December 31, 2022.

       B.       Plaintiff States’ Position Statement

       Plaintiff States incorporate by reference U.S. Plaintiffs’ Position Statement in Section

III.A. above.

       C.       Google’s Position Statement

       Plaintiffs’ latest demand that Google manually identify, review, and produce many

thousands of additional documents without any showing of relevance is neither justified nor

warranted given the burden it would place on Google, particularly at this point in the litigation.

       In early 2021, the parties agreed that Google would identify, collect, and produce certain

documents hyperlinked within responsive emails, where those “linked documents” did not fall

within the agreed-upon search terms and thus would not have been otherwise subject to review

for responsiveness and production. With respect to documents hyperlinked in non-email forms

of ESI, such as spreadsheets, presentations, or word processing documents, the parties agreed

that those documents would not be presumptively collected or produced, but that the parties




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would meet and confer regarding any request for production of such documents. 8 It is this latter

category of documents, i.e., documents hyperlinked within non-email ESI, that is in dispute.

        During fact discovery, Plaintiffs periodically requested specific linked documents

associated with non-email ESI, and Google located, reviewed, and produced those

documents. Plaintiffs never asked for anything more until the DOJ Plaintiffs served their

Thirteenth Request for Production on April 5, 2022—requesting that Google produce all

documents associated with any link in any document produced during Plaintiffs’ investigation or

this litigation. And Plaintiffs never made the specific demand now before the Court until June 1,

2022—almost four weeks after fact discovery closed and the parties had reached impasse on an

earlier proposal made by Plaintiffs.

        Plaintiffs’ most recent correspondence on this issue calls for “the production of all

linked-to documents contained within the set of documents Google has already collected.” June

1, 2022 Ltr. from K. Herrmann at 1. Google has identified approximately 170,000 links within

the non-email ESI produced where none of these links are to other produced documents. Google

is currently searching to see how many of these documents were previously collected for the

litigation. In all likelihood, tens of thousands of these links are to documents in the collection set

that would need to be reviewed prior to production—an overly burdensome undertaking at any

point, and one that is patently unreasonable at this stage of the litigation. And that is not

all. Plaintiffs additionally have demanded “the production of up to 1,000 linked-to documents

that Plaintiffs may identify on a case-by-case basis no later than November 10, 2022.” Id. In

other words, Plaintiffs propose that for more than six months after the close of fact discovery,



8
 “Linked documents” that were identified using the agreed-upon ESI search parameters were produced
pursuant to the parties’ negotiated search parameters; this dispute involves those linked documents that
did not hit on the search parameters.

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they will have the right to ask Google to locate a thousand additional documents linked in any

produced document, regardless of relevance and even if the requested documents were not

previously collected (e.g., because they were not in the possession of any of the agreed-upon

document custodians). Although Google tracked down and produced linked documents in that

manner on a number of isolated occasions at Plaintiffs’ request over the last year, fact discovery

is now over, and Plaintiffs should not be permitted to extend it any further.

        Despite the unreasonable scope and timing of Plaintiffs’ request, Google proposed a

reasonable compromise by offering to locate and produce approximately 200 additional

documents of Plaintiffs’ choosing that are linked in documents produced since February 4, 2022,

provided that Plaintiffs request them in the near future.9 This proposal balances the need for fact

discovery to end against Plaintiffs’ claim that they should have more time to identify additional

documents beyond those that were collected and produced using the agreed-upon search terms

and other parameters.

                1.       The Parties’ Prior Agreement Regarding Linked Documents and
                         Requests Made Pursuant to That Agreement

        Plaintiffs have long known how Google’s cloud-based document system works and that

documents authored by Google employees sometimes contain links to other Google documents

within the body of the document.10 In the fall of 2019, during the DOJ’s pre-Complaint

investigation, Google and the DOJ agreed that certain linked documents within emails would be

produced as part of Google’s standard document production protocol. Shortly after discovery in


9
  Google originally proposed a deadline of June 20, 2022, but it will agree to extend that deadline by 21
days given that Plaintiffs waited more than a month to bring this dispute before the Court after the parties
reached impasse.
10
  These links are references only, and unlike attachments or embeddings which are stored as part of the
underlying document, links are not and pose significant technical challenges for collection and mapping.


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this case began, in January 2021, Google agreed to continue that practice during the litigation,

and further agreed to meet and confer regarding production of specifically identified documents

hyperlinked within non-email ESI, such as spreadsheets and presentations. See Jan. 15, 2021

Ltr. from F. Rubinstein.11

        Beginning in October 2021, Plaintiffs periodically identified specific produced

documents that contained hyperlinks and asked Google to search for and produce the linked

documents if they were not otherwise captured by the agreed-upon search protocols. Although

collection of these linked documents often requires a burdensome manual process, Google

nevertheless agreed to search for and produce all of the linked documents requested by Plaintiffs

in this manner during the fact discovery period. 12

                2.      DOJ Plaintiffs’ Thirteenth RFP No. 1 Violates the Parties’ Prior
                        Agreement by Requesting All Linked Documents

        On April 5, 2022, the DOJ Plaintiffs served their Thirteenth Set of Requests for

Production, which included, among other things, the following request:

        For each document that Google produced or will produce in response to U.S. CID No.
        30120, a request for production issued in this action, or a request for production issued
        in State of Colorado, et al. v. Google LLC, 20-cv-3715 (D.D.C.), and that contains at
        least one hyperlink to a document currently or previously within Google’s custody,
        control, or possession, produce:

        a. the linked-to document(s) within Google’s custody, control, or possession and the
        metadata required to establish the relationship between the parent and linked-to
        document(s)....




11
  At that point, the DOJ and a number of the Plaintiff States had spent more than a year reviewing
documents produced by Google in connection with the pre-Complaint investigation and were well aware
of the prevalence and nature of hyperlinks in those documents.
12
  Over the course of fact discovery, Plaintiffs requested linked documents referenced within 365
produced documents, which required investigation of over 1,995 individual links.

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In other words, Plaintiffs sought to go far beyond previous agreements between Google and

Plaintiffs for the production of linked documents from emails, itself a substantial undertaking, to

all produced documents, including spreadsheets, memos, meeting notes, and other non-email

ESI. Google immediately met and conferred with Plaintiffs, and during the meet-and-confer

process, Google agreed to a number of Plaintiffs’ specific requests. First, Google agreed to

generate and produce additional metadata reflecting, among other things, whether a link in a

particular produced document was linked to another produced document. Second, Google

agreed that if it cites a document in a subsequent court filing (e.g., a summary judgment motion)

that includes a hyperlink to a document that was not previously produced, then Plaintiffs may

request the linked document. Third, Google proposed that “if Plaintiffs identify on or before

June 20, 2022 a limited number of links (i.e., on the order of approximately 200) in documents

produced on or after February 4, 2022, then Google will manually search for those linked

documents, as it has done in response to Plaintiffs’ requests during the fact discovery

period.” May 6, 2022 Email from F. Rubinstein.

       On May 6, 2022, Plaintiffs accepted that framework but proposed expanding the

numerical cap and date range. Specifically, Plaintiffs proposed that “[n]o later than November

10, 2022, Plaintiffs may identify on a case-by-case basis up to 1,000 linked documents that

Google has not produced, and Google will manually search for and produce those linked

documents, as it has done in response to Plaintiffs’ requests during the fact discovery

period.” May 6, 2022 Email from D. Aguilar. Google informed Plaintiffs that it would not

accept Plaintiffs’ 1,000 linked documents proposal. May 9, 2022 Email from F.

Rubinstein. Although Plaintiffs had indicated that they would submit that proposal to the Court

as a disputed issue in the May 10, 2022 Joint Status Report, they later informed Google on May



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10 that they “did not have enough time to brief the relevant issues in [that] JSR.” May 10, 2022

Email from D. Aguilar. A few weeks later, on June 1, 2022, Plaintiffs made a new proposal and

unexpectedly expanded the scope of their demand. In addition to reiterating their proposal that

Plaintiffs be permitted to identify up to 1,000 additional linked documents by November 10,

2022, Plaintiffs insisted upon “the production of all linked-to documents contained within the set

of documents Google has already collected.” June 1, 2022 Ltr. from K. Herrmann at 1.

               3.      Plaintiffs’ Request for Thousands of Additional Linked Documents Is
                       Unreasonable and Unduly Burdensome

       Plaintiffs have made no showing that they are entitled to production of a document

merely because it is linked in a document that has been produced, and they surely have not

established that the burden of this eleventh-hour request is justified or proportional to any

supposed need. Such documents are not inherently relevant or responsive, and they are more

appropriately addressed on an individualized basis, as they were throughout fact discovery. See,

e.g., Nichols v. Noom Inc., 2021 WL 948646, at *4 (S.D.N.Y. Mar. 11, 2021) (observing that

“[w]hen a person creates a document or email with a hyperlink, the hyperlinked

document/information may or may not be necessary to the communication,” and denying a

request for a broad set of linked documents because “if Plaintiffs determine there is a need for an

additional targeted pull or production or clarifying information about a hyperlinked document’s

identity or Bates number, Plaintiffs can request it”).

       Requiring Google to produce documents solely because they are linked within other

documents, on top of the extensive searches of ESI that have already taken place, is unreasonable

and unduly burdensome. See, e.g., Nichols, 2021 WL 948646, at *5 (refusing to order the

defendant to collect documents linked within produced documents because collecting ESI

“through both a direct collection and a collection through hyperlinks” would “dramatically


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increase redundancies in the collection, increase costs, and delay discovery”). Plaintiffs’ request

is even more objectionable in this case because the parties negotiated the parameters that Google

used to respond to hundreds of individual requests for production with the understanding that

Plaintiffs were not seeking production of all documents that are merely hyperlinked in a

responsive document. If Plaintiffs had taken this position at the outset of discovery, Google

would have opposed it. And if Plaintiffs had prevailed, Google would have incorporated the

additional burden of reviewing every hyperlinked document into its hit reports and other

assessments of Plaintiffs’ search term and custodian proposals and adjusted its responses

accordingly.

       The burden of the first portion of Plaintiffs’ June 1, 2022 proposal is not mitigated by the

fact that it is “limited” to “the production of all linked-to documents contained within the set of

documents Google has already collected.” June 1, 2022 Ltr. from K. Herrmann at 1 (emphasis

added). Even though the documents in question have already been collected (likely tens of

thousands of the 170,000 links Google has identified), they would still need to be reviewed by

attorneys for privilege before they could be produced, which of course would involve a

considerable amount of attorney time and corresponding expense. Plaintiffs are asking that

Google undertake that review even though fact discovery has closed, Google has produced

approximately 4 million documents during the investigation and litigation, and none of the

documents in question was either retrieved by the agreed-upon search parameters or specifically

requested by Plaintiffs at any point during fact discovery. That is a remarkable request, and it

should be denied in full.

       Although Plaintiffs’ May 6, 2022 request—for “production of up to 1,000 linked-to

documents that Plaintiffs may identify on a case-by-case basis no later than November 10,



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2022”—is narrower than their subsequent request for all links in all documents, it is still

unjustified. Google has been producing documents in response to Plaintiffs’ CIDs and RFPs for

more than two years, and the opportunity for Plaintiffs to request additional documents in this

manner should have ended when fact discovery closed.

       Although fact discovery has closed, Google has acknowledged that Plaintiffs may need a

bit more time to review recently produced documents and identify any unproduced linked

documents that they contend should be produced. Google has therefore agreed to produce 200

additional linked documents referenced in documents produced during or after the final 90 days

of fact discovery (i.e., since February 4, 2022), so long as Plaintiffs request those documents in a

relatively prompt manner (i.e., on or before July 11, 2022). This gives Plaintiffs sufficient time

to identify additional linked documents that are potentially of interest, without unnecessarily

burdening Google with the time-consuming process of investigating, locating, and producing an

unreasonable volume of documents long after the end of fact discovery. Google submits that

nothing more is necessary or reasonable, and it respectfully asks the Court to deny Plaintiffs’

request.

IV.    The Parties’ Dispute Regarding the Timing of Any Requests by Plaintiffs to
       Reopen Depositions in Light of Google’s Production of Deprivileged Documents

       A.      U.S. Plaintiffs’ Position Statement

       The Court should issue an order granting Plaintiffs 45 days following Google’s

production of its final privilege log for Plaintiffs seek to reopen depositions, or to seek to take

depositions in the first instance, due to Google’s late productions of deprivileged documents.

This 45-day period would allow Plaintiffs to properly review Google’s recent, extensive

productions of deprivileged documents in addition to Google’s planned future productions. The

45-day period would further permit Plaintiffs to review Google’s final privilege log and, if


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necessary, to challenge its contents. This 45-day period is made necessary solely because of

Google’s many errors in withholding non-privileged documents.

       At this juncture, Plaintiffs face three roadblocks in evaluating which depositions need to

be reopened or taken in the first instance: (1) the sheer number of deprivileged documents

produced by Google to date, (2) the uncertainty of the contents of Google’s further productions

and privilege logs, and (3) Google’s piecemeal production of deprivileged documents. Without a

comprehensive set of deprivileged documents or sufficient time to review them, Plaintiffs cannot

meaningfully determine which documents may necessitate further deposition testimony, from

whom, or for how long. Google’s frequent productions of documents, each containing the files of

multiple custodians, makes finalizing review of documents on a custodian-by-custodian basis

impossible.

               1.     Google’s Deprivileging Productions Have Been Erratic And
                      Voluminous

       Google has recently deprivileged thousands of documents improperly withheld on claims

of privilege; Plaintiffs received these documents after the documents’ custodians were deposed.

       From March 1, 2022, when the U.S. Plaintiffs informed Google that Plaintiffs would be

filing a motion to compel regarding privilege issues, Google has made a number of productions

of formerly privileged documents. These productions have been erratic—on no discernable

schedule—and have come without notice or description. They fall within the following groups:

          1,635 deprivileged documents produced in four separate productions between March
           1 and March 8, the date that U.S. Plaintiffs filed their motion for sanctions and
           motion to compel.13



13
  PROD157 (1,168 deprivileged documents, produced on March 3); PROD158 (84 deprivileged
documents, produced on March 6); PROD160 (197 deprivileged documents, produced on March 6); and
PROD162 (186 deprivileged documents, produced on March 7). See ECF No. 326.


                                               21
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          17,346 deprivileged documents produced in nine separate productions between the
           March 8 motion and the Court’s April 8 status conference. 14

          659 deprivileged documents produced in seven separate productions between the
           April 8 status conference and the close of fact discovery on May 6. 15

          17,653 deprivileged documents produced in four separate productions since the close
           of fact discovery.16

       Google has indicated that it will complete production of its deprivileged documents on

June 17, 2022.

       For each of these productions, Google has provided documents from a variety of

custodians. A chart shows the deprivileged documents produced for just ten custodians. 17 Nine of

these custodians were deposed by Plaintiffs, with all of these depositions completed before large

swaths of the deprivileged documents arrived.




14
  PROD163 (304 deprivileged documents, produced on March 10); PROD167 (540 deprivileged
documents, produced on March 19); PROD170 (1 deprivileged document, produced on March 21);
PROD171 (8,412 deprivileged documents, produced on March 27); PROD172 (9 deprivileged
documents, produced on March 26); PROD173 (12 deprivileged documents, produced on March 28);
PROD 175 (7,356 deprivileged documents, produced April 2); PROD176 (684 deprivileged documents,
produced April 2); and PROD177 (28 deprivileged documents, produced April 6).
15
  PROD180 (6 deprivileged documents, produced April 11); PROD182 (2 deprivileged documents,
produced April 11); PROD185 (2 deprivileged documents, produced April 13); 30 deprivileged
documents produced on April 19, in conjunction with Google’s filing on random sampling (no production
number); PROD189 (1 deprivileged document, produced April 19); PROD192 (32 deprivileged
documents, produce April 28); and PROD194 (586 deprivileged documents, produced April 30).
16
  PROD198 (8,232 deprivileged documents, produced May 7); PROD201 (3,471 deprivileged
documents, produced May 12); PROD205 (4,182 deprivileged documents, produced June 3); and
PROD206 (1,768 deprivileged documents, produced June 6).
17
  Google produced deprivileged documents from 238 custodians, some with only one or two documents
and others with hundreds or thousands of documents.


                                                 22
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                      Mar. 1 –    Mar. 9 –     Apr. 9 -     May 7 -
                                                                       June 17      Total
                      Mar. 818    Apr. 819     May 620      June 621
      Total
      Deprivileged
      Productions         1,635      17,346           659     17,653       TBD      37,223

      Kolotouros             89       3,361            25      1,725       TBD        5,200
      Rosenberg              59       1,892             1        830       TBD        2,782
      Braddi                 98       1,112           454        496       TBD        2,160
      Harrison            1,191         151            50        492       TBD        1,884
      Gennai                 40       1,082            17        605       TBD        1,744
      Kartasheva             28         825             3        733       TBD        1,589
      Li^                    28         905             0        578       TBD        1,511
      Dischler               43         689            71        481       TBD        1,284
      Levine                 15         683             0        420       TBD        1,118
      Lockheimer             30         631             6        409       TBD        1,076

         This chart demonstrates three important points:

         First, Google improperly withheld documents from a large number of significant

witnesses, only producing them after the depositions had been completed.

         Second, the ongoing flow of deprivileged documents has prevented the Plaintiffs from

completing review of any of these custodians.

         Third, that Plaintiffs have had only about a month, during preparation of expert reports,

to load and review the four productions of over 17,000 deprivileged documents produced after

the close of discovery, while simultaneously reviewing the other 60,000-plus documents that




18
     PROD157; PROD158; PROD160; and PROD162.
19
 PROD163; PROD167; PROD170; PROD171; PROD172; PROD173; PROD175; PROD176; and
PROD177.
20
     PROD180; PROD182; PROD185; PROD189; PROD192; and PROD194.
21
     PROD198; PROD201; PROD205; and PROD206.


                                                 23
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Google produced during the final two months of discovery. 22 Google’s final, June 17 production

may include thousands more deprivileged documents, across multiple custodians.

        Finally, under the CMO, Google’s final privilege log will be produced at the end of June.

This log will provide Plaintiffs a chance to—once again—check Google’s homework to see if

there are significant errors in Google’s privilege claims. Only after that review is completed will

the Plaintiffs have the complete set of documents that should have properly been produced in

discovery.

                2.      Google Created This Situation And Should Not Be Heard To
                        Complain

        The Court should provide Plaintiffs with 45 days—after receiving Google’s final

privilege log—to seek to reopen depositions or schedule new depositions based on the recently

deprivileged documents. This time will ensure that Plaintiffs have sufficient time to review

Google’s deprivileging efforts and examine Google’s final privilege log, without the effort

undermining Plaintiffs’ endeavors in expert discovery. The Court should reject Google’s

attempts to place unreasonable limits on Plaintiffs’ ability to reopen depositions or take new

depositions, because Google created the present situation by (1) over privileging documents,

(2) refusing to perform a re-review when asked by Plaintiffs, and (3) performing such a poor re-

review that yet another round of review revealed a 12-percent error rate. Google’s actions

systematically deprived Plaintiffs of documents that could have been used when deposing

Google’s current and former employees.




22
  These more than 60,000 documents include approximately 18,000 deprivileged documents. Google also
produced significant amounts of data during this time, and the parties took approximately 50 depositions
in addition to continuing exchanges of written discovery.


                                                  24
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        Because Google is still producing deprivileged documents, U.S. Plaintiffs have not yet

had the opportunity to complete the review and determine which documents might have—if not

withheld—been used at depositions. Thus, we have not identified a final set of depositions that

we need to consider. As discussed at the May 12 status conference, “[o]nce we have a full set [of

deprivileged documents], then we’ll determine if we need to re-open depositions. Right now it’s

looking like, at least some . . . might need to be re-opened for the documents that have been de-

privileged, but we haven’t made any decisions and we really can’t until this process is done.” 23

        Plaintiffs, of course, have already been harmed by Google’s over privileging. Indeed,

without these deprivileged documents, Plaintiffs were denied the opportunity to fully weigh

whether additional depositions were necessary: in total, Plaintiffs took 78 of the 80 depositions

available during fact discovery. Google’s timely production of its deprivileged documents may

have resulted in Plaintiffs using the remaining two fact depositions permitted by the Court. 24

Certainly some of the deprivileged documents would have been used in the depositions that did

take place.

        By depriving Plaintiffs of a reasonable chance to review these just-deprivileged

documents and reopening or taking new depositions as necessary, Google now seeks to benefit

from its many privilege failures. The Court should reject Google’s efforts.




23
  Transcript of May 12, 2022 Status Conference, ECF No. 353 at 6:16-22. See also Memorandum in
Support of Motion to Sanction Google and Compel, ECF No. 326-1 at 27 (reserving the right to seek
adverse inferences or to reopen depositions, as necessary).
24
  Christopher Li, for example, marked with a caret in the chart, was one of the individuals considered by
U.S. Plaintiffs for deposition. Google produced 578 of Mr. Li’s custodial files after the close of discovery,
and he was a sender or a recipient of nearly another 100 non-custodial emails. If Plaintiffs had the full
complement of Google’s productions, Mr. Li may very well have been selected for deposition.


                                                     25
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       Accordingly, the Court should order that the Plaintiffs may seek to reopen depositions, or

take depositions in the first instance—based on documents deprivileged after March 1, 2022—

within 45 days of Google’s filing its final privilege log.

       B.      Plaintiff States’ Position Statement

       Plaintiff States are unable to determine whether it is appropriate reopen specific

depositions until Google has produced all deprivileged documents and Plaintiff States have the

opportunity to review those documents. Google’s production of deprivileged documents in

ongoing. Indeed, since the close of fact discovery, Google produced an additional 17,653

deprivileged documents. Google has indicated that such productions will continue until the

production deadline of June 17. As such, Plaintiffs States ask the Court to afford them the

opportunity to review these late arriving deprivileged documents before making the

determination that it is appropriate to reopen depositions.

       C.      Google’s Position Statement

       For months Plaintiffs have intimated that they may seek to reopen unspecified

depositions of Google witnesses purportedly based on the timing of certain document

productions. See, e.g., May 12, 2022 Hr’g Tr. 6:16-22; ECF No. 330 at 18; ECF No. 317-1 at

27. Throughout that period, however, Plaintiffs have neither identified any particular deposition

that they contend should be reopened nor pointed to any particular documents that purportedly

would justify doing so. Instead, Plaintiffs have sought to impose a framework whereby they

remain silent while Google completes production of all documents requested by Plaintiffs, at

which point Plaintiffs will take some time to consider whether they intend to seek leave to

reopen any depositions. See, e.g., ECF No. 356 at 2-3; May 12, 2022 Hr’g Tr. 37:22-39:18.

Most recently, Plaintiffs stated that they “intend to request that the Court allow Plaintiffs 45

days, starting from Google’s production of a final privilege log, to reopen depositions based

                                                 26
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upon documents erroneously withheld for privilege.” June 9, 2022 Ltr. from E. Murdock-Park at

2. That proposal is unreasonable in at least two respects.

       First, there is no reason for Plaintiffs to wait any longer to identify any depositions that

they presently contend should be reopened. If Plaintiffs intend to argue that a document

produced months ago entitles them to reopen a deposition, then the request may already be

untimely given Plaintiffs’ failure or refusal to raise the issue during fact discovery. See, e.g.,

United States ex rel. Pogue v. Diabetes Treatment Ctrs. of Am., 576 F. Supp. 2d 128, 133

(D.D.C. 2008) (explaining that the standard for modifying a scheduling order “primarily

considers the diligence of the party seeking the amendment,” and if the moving “party was not

diligent, the inquiry should end”). Although Google will evaluate in good faith any request it

receives from Plaintiffs, it is difficult to envision how a document produced well before the close

of fact discovery could serve as the basis for a request to reopen a deposition that is made for the

first time more than a month after the fact discovery deadline. If Plaintiffs contend that a

document produced more recently should allow for reopening a deposition, there is no

justification for further delay, and they should proceed on the timeline established by the Court’s

order of May 25, 2022. See ECF No. 357 at 2-3 (establishing a deadline of June 24, 2022 to file

any further motions to compel, with an exception for “disputes relating solely to documents,

data, privilege log entries, or supplemental responses to written discovery requests produced for

the first time on or after June 2, 2022, that could not reasonably have been identified prior to the

movant’s receipt of the documents, data, privilege log entries, or supplemental responses”).

       Second, Plaintiffs should not be permitted 45 days after receipt “of a final privilege log”

to attempt to reopen depositions based on documents first produced on or after June 2, 2022. As

Google previously explained, Plaintiffs have had the “final privilege log” for the vast majority of



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documents that are subject to a claim of privilege for at least several months, if not longer. See,

e.g., May 12, 2022 Hr’g Tr. 15:24-18:7; ECF No. 351 at 25. Google is in the process of

completing its productions in response to Plaintiffs’ most recent requests and the Court’s Order

of May 12, 2022, and next week Google will produce an updated version of its privilege log that

includes entries that have been added or revised within the last several weeks. If Plaintiffs intend

to seek any form of relief (including reopening a deposition) based on documents produced since

June 2, 2022, then Google respectfully submits that they should identify the request for Google

no later than July 12, 2022 and present any such unresolved dispute to the Court by July 22,

2022. That allows Plaintiffs even more time to consider documents produced in June then they

previously indicated they would need in order to identify any depositions that purportedly should

be reopened. See May 27, 2022 Ltr. from M. Rosengart at 1 (proposing that if “Google agree[s]

to produce all re-reviewed silent-attorney emails that are deprivileged in whole or in part no later

than June 3,” then “Plaintiffs will agree to identify any depositions to be reopened no later than

June 10”).

       Plaintiffs have referenced the number of documents produced in recent weeks in support

of their request for additional time to consider whether to seek to reopen any depositions, see

June 9, 2022 Ltr. from E. Murdock-Park at 2, but that is not an accurate measure of the task at

hand. Almost all of Plaintiffs’ challenges to privilege log entries have encompassed entire

categories of documents, without regard to the custodian of the document, the time period, or the

subject matter reflected in the log description. As a consequence, a significant number of the

documents that have been produced following further review involve topics that were a subject

of Plaintiffs’ pre-Complaint investigation but that are irrelevant to this case. Even among the

fraction of arguably relevant documents, many involve employees who were never noticed for



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deposition, and many others contain content that was already produced months ago in identical

or substantially similar form. While Plaintiffs have repeatedly referenced the number of de-

privileged documents, they have yet to identify a single one that they contend warrants reopening

a deposition. If they are aware of any such documents, then there is no apparent justification for

their failure to identify them in a timely manner.

V.   The Parties’ Dispute Regarding Plaintiffs’ Responses to Interrogatory Nos. 8 and
     10 of Google’s Second Set of Interrogatories

       A.      Google’s Position Statement

       At the March status conference, Google sought to remedy Plaintiffs’ unwillingness to

identify “the specific agreements that they claim are in play in the lawsuit” and why those

agreements purportedly are unlawful. Mar. 9, 2022 Hr’g Tr. 45:10-47:3. At that time, the Court

stated that “Google has a right to find out and understand what the Department and the plaintiffs’

theories are about their conduct that is unlawful,” including “[w]hat is it about the agreements

that makes them anti-competitive?” Id. 55:12-23.

       Google’s subsequent efforts to obtain the answer to that fundamental question have been

met with further resistance. Following the March status conference, Plaintiffs supplemented

their responses to Google’s First Interrogatory No. 1, which asked them to identify the

agreements they “allege to have harmed competition, what specific provision of each of the

agreements harmed competition, and how it has done so.” See id. at 55:24-56:7. Plaintiffs’

supplemental response to Google’s First Interrogatory No. 1 listed approximately 500

agreements and amendments thereto entered over the last 20 years—an absurd position that is

not consistent with Plaintiffs’ Complaint or other discovery responses. See DOJ Pls.’ Fifth Supp.

Resp. & Obj. to Google’s First Interrog. No. 1. And Plaintiffs’ list of the provision(s) of each

agreement that purportedly harmed competition is similarly broad and non-specific, as it


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includes, by way of example, vague references to “[p]rovisions requiring Apple to set Google as

the default search service on preinstalled search access points in exchange for revenue share,”

and “[p]rovisions requiring partners to set Google as the default on search access points and/or

requiring partners to give Google apps prominent placement.” Id. Such agreements have been

commonplace in the industry for many years and have been entered into by other competing

search engines with browsers and other developers of smartphones, and Plaintiffs’ vague

descriptions of provisions that are standard industry practice do little to explain what makes these

agreements anti-competitive.

          In view of those responses and the history of search engine promotional agreements,

Google posed additional interrogatories to determine whether Plaintiffs’ position in this case is

that all such agreements are anticompetitive, regardless of the parties to the agreement, or

whether they are somehow harmful to competition because Google entered into them.

                 1.      Google’s Second Set of Interrogatories No. 8

          Google’s Second Interrogatory No. 8 provides:

          For each agreement You identified in response to Interrogatory No. 1 in Google’s First
          Set of Interrogatories, state whether You contend any other search provider (e.g.,
          Microsoft) could have lawfully entered into a substantially similar agreement, or if it
          is Your contention that the agreement would have harmed competition regardless of
          the search provider.

Put another way, are the agreements in question purportedly anti-competitive because it is

Google, rather than some other company, that is party to them? Or do Plaintiffs contend that

competition is harmed when any search service enters an agreement that, by way of example,

sets “the default search service on preinstalled search access points in exchange for revenue

share”?

          Plaintiffs initially refused to answer this interrogatory, stating that they “have not made

and make no contentions about hypothetical agreements hypothetically entered into by parties

                                                   30
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other than Google and not at issue in this case.” 25 On June 14, DOJ Plaintiffs supplemented their

responses and objections to state:

        Subject to and without waiving the foregoing objections, U.S. Plaintiffs additionally
        respond that certain exclusionary practices that can permissibly be engaged in by a non-
        monopolist are forbidden to one with monopoly power or one with a dangerous
        probability of acquiring monopoly power. The agreements identified in this
        Interrogatory constitute such a practice. Google is the only general search engine with
        monopoly power in the United States, and under U.S. Plaintiffs’ theories in this case,
        other non-monopolist search engines would not violate Section 2 of the Sherman Act
        by entering into substantially similar contracts. U.S. Plaintiffs make no contentions
        about any law or rule other than Section 2 of the Sherman Act.

        DOJ Plaintiffs’ response, however, evades the question posed: whether other search

providers could have lawfully entered into a substantially similar agreement. By cabining their

response to Section 2, thereby avoiding the question of whether it is their contention that default

agreements substantially similar to those at issue here are otherwise unlawful (i.e., under Section

1 of the Sherman Act). Plaintiffs should be required to answer the question as posed: do

Plaintiffs contend any other search provider could have lawfully entered into a substantially

similar agreement, or is it Plaintiffs’ contention that the agreement would have harmed

competition regardless of the search provider?

        Plaintiffs’ objection to providing a further response to the interrogatory on the grounds

that it is asking about a “hypothetical agreement” should be dismissed. The interrogatory is

posed not at a hypothetical agreement, but rather an agreement that is “substantially similar” to

the contracts that Plaintiffs contend are unlawful. Plaintiffs are aware of and presumably have

considered all of the terms of the agreements which they “allege to have harmed competition,”

and Second Interrogatory No. 8 seeks to have Plaintiffs explain whether the conduct at issue



25
  The quoted response was served by the DOJ Plaintiffs, and the Plaintiff States separately
“incorporate[d] by reference” the DOJ Plaintiffs’ objections and responses to Second Interrogatory Nos. 8
and 10.

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harms competition only because Google is a party to an agreement or whether the conduct in

general harms competition regardless of the contracting parties.

       Plaintiffs allege that “[c]omputers and mobile devices generally have apps preinstalled

that include search access points, such as browsers, search apps and widgets, and voice

assistants,” and that “[e]ach of these search access points can and almost always does have a

preset default general search engine.” DOJ Pls.’ Am. Compl. ¶ 41. And Plaintiffs contend that

contractual “[p]rovisions requiring manufacturers to set Google as the default on search access

points” are among the “categories of contractual provisions that have harmed competition.” DOJ

Pls.’ Fifth Supp. Resp. & Obj. to Google’s First Interrog. No. 1. It is therefore entirely

reasonable to expect Plaintiffs to reveal whether they contend that competition would be harmed

by another search provider entering a substantially similar agreement or whether the harm to

competition alleged in this case is attributable solely to the fact that Google is the search engine

in question.

               2.      Google’s Second Set of Interrogatories No. 10

       Google’s Second Interrogatory No. 10 provides:

       State whether You contend that, from 2005 to the present, any search provider could
       lawfully contract with Apple, Mozilla, or other browser provider to be the pre-set
       search default on the browser. If You contend that some, but not all, search providers
       could lawfully do so, or that a search provider could lawfully do so for some, but not
       all, of the time period, identify those limitations to Your response.

As with Second Interrogatory No. 8, Plaintiffs initially responded that they “have not made and

make no contentions about hypothetical agreements hypothetically entered into by parties other

than Google and not at issue in this case.” On June 14, U.S. Plaintiffs served a supplemental




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response identical to the response to Second Interrogatory No. 8 quoted above, again cabining

their response to Section 2.26

        Notwithstanding Plaintiffs’ response, the Interrogatory is not “hypothetical,” as browser

providers have in fact contracted with other search providers “to be the pre-set search default on

the browser” during the period encompassed by the request. 27 Plaintiffs have taken extensive

discovery regarding consummated and proposed agreements of this kind, and there is no

legitimate basis for them to withhold their position regarding the lawfulness of the very

agreements that they have placed at issue in the case. Plaintiffs allege, for example, that “[i]n a

competitive market, rivals could compete to be the preset default general search engine on a

browser.” DOJ Pls.’ Am. Compl. ¶ 159. In response to Google First Interrogatory No. 1,

however, Plaintiffs assert only generically that “Defendant’s Revenue Share Agreements,

Sponsorship Agreements, and other search distribution agreements with browser companies,

including Mozilla, Opera, and UCWeb, and all exhibits thereto” have “individually or

collectively harmed competition.” DOJ Pls.’ Fifth Supp. Resp. & Obj. to Google’s First


26
  U.S. Plaintiffs’ supplemental response is word-for-word the same response as No. 8: “Subject to and
without waiving the foregoing objections, U.S. Plaintiffs additionally respond that certain exclusionary
practices that can permissibly be engaged in by a non-monopolist are forbidden to one with monopoly
power or one with a dangerous probability of acquiring monopoly power. The agreements identified in
this Interrogatory constitute such a practice. Google is the only general search engine with monopoly
power in the United States, and under U.S. Plaintiffs’ theories in this case, other non-monopolist search
engines would not violate Section 2 of the Sherman Act by entering into substantially similar contracts.
U.S. Plaintiffs make no contentions about any law or rule other than Section 2 of the Sherman Act.”
27
   See, e.g., https://blog.mozilla.org/en/mozilla/promoting-choice-and-innovation-on-the-web/ (“Google
has been the Firefox global search default since 2004. Our agreement came up for renewal this year, and
we took this as an opportunity to review our competitive strategy and explore our options…. Under a new
five-year strategic partnership announced today, Yahoo Search will become the default search experience
for Firefox in the U.S.”); https://www.fastcompany.com/3001129/bing-now-default-search-engine-
amazons-kindle-fire-apple-next (“Amazon confirmed to Fast Company that Bing would come as the
default search engine on all new Kindle Fires, the flagship product Amazon is positioning against Apple’s
iPad and other Android tablets…. In addition to the millions of new Bing-equipped Kindle Fires Amazon
is likely to sell this holiday season, a number of Android-based smartphones have already replaced
Google with Bing, thanks to a partnership between Microsoft and Verizon.”)

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Interrog. No. 1. With fact discovery closed, Plaintiffs should no longer be permitted to delay

disclosing why these agreements are purportedly unlawful. Is it the fact that Google, rather than

another search service, is presently the “preset default general search engine” on the browsers in

question? Or do Plaintiffs contend that for some or all of the period referenced in Interrogatory

No. 10, contracting “to be the pre-set search default on the browser” is itself harmful to

competition in violation of the Sherman Act, irrespective of which search service is the default?

       Plaintiffs offer no burden objection to responding to these appropriate contention

interrogatories, which should be answered in full now that fact discovery has closed.

       B.      U.S. Plaintiffs’ Position Statement

       The Court should deny Google’s request for further supplementation regarding its Second

Set of Interrogatories to Plaintiffs, Interrogatories Nos. 8 and 10. Plaintiffs’ responses stand

complete to the two Interrogatories which request:

       Interrogatory No. 8: For each agreement You identified in response to Interrogatory
       No. 1 in Google’s First Set of Interrogatories, state whether You contend any other
       search provider (e.g., Microsoft) could have lawfully entered into a substantially
       similar agreement, or if it is Your contention that the agreement would have harmed
       competition regardless of the search provider.

       Interrogatory No. 10: State whether You Contend that, from 2005 to the present, any
       search provider could lawfully contract with Apple, Mozilla, or other browser provider
       to be the pre-set search default on the browser. If You contend that some, but not all,
       search providers could lawfully do so, or that a search provider could lawfully do so
       for some, but not all, of the time period, identify those limitations to Your response.

       U.S. Plaintiffs originally objected to both Interrogatories as (1) vague, ambiguous,

impermissibly hypothetical, and unduly burdensome and (2) inconsistent with the Sherman Act.

U.S. Plaintiffs then answered Google’s interrogatories, responding that U.S. Plaintiffs make no

contentions about hypothetical agreements not involving Google and not at issue in this case.

U.S. Plaintiffs’ Objections and Responses to Defendant Google LLC’s Second Set of



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Interrogatories to Plaintiffs (May 6, 2022) at 12-15. This answer thus satisfied these

Interrogatories.

           Following receipt of U.S. Plaintiffs’ May 6 responses and objections, the parties met and

conferred on May 20. The next business day—May 23—U.S. Plaintiffs sought clarification on

Interrogatory No. 10, asking if Google was “seeking only a ‘yes’ or ‘no’ answer to Interrogatory

No. 10” or it if was “seeking [a] narrative or further response to the posed hypothetical.” Google

never responded, and instead—to Plaintiffs’ surprise—informed Plaintiffs on June 10 of

Google’s intent to challenge both responses.

           Despite Google’s unilateral disengagement from the meet-and-confer process, U.S.

Plaintiffs then sought to resolve this issue by amending both responses to add the following

language:

           Subject to and without waiving the foregoing objections, U.S. Plaintiffs additionally
           respond that certain exclusionary practices that can permissibly be engaged in by a non-
           monopolist are forbidden to one with monopoly power or one with a dangerous
           probability of acquiring monopoly power. The agreements identified in this
           Interrogatory constitute such a practice. Google is the only general search engine with
           monopoly power in the United States, and, under U.S. Plaintiffs’ theories in this case,
           other non-monopolist search engines would not violate Section 2 of the Sherman Act
           by entering into substantially similar contracts. U.S. Plaintiffs make no contentions
           about any law or rule other than Section 2 of the Sherman Act.

US. Plaintiffs’ Second Supplemental Responses to Google’s Second Set of Interrogatories

(June 14, 2022).

           U.S. Plaintiffs have thus answered queries beyond what is posed by Google’s

Interrogatories, directly stating for both Interrogatories that “under U.S. Plaintiffs’ theories in

this case, other non-monopolist search engines would not violate Section 2 of the Sherman

Act by entering into substantially similar contracts.” Google is not entitled to anything

further.



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        To the extent Google demands that U.S. Plaintiffs respond to hypothetical questions

beyond what was asked in Interrogatories Nos. 8 and 10, Plaintiffs note that Google has sought

this before, recasting such a demand from its Interrogatory No. 5 from Google’s First Set of

Interrogatories. That Interrogatory called for a hypothetical identification of “any circumstances

from 2005 to the present under which Google could lawfully contract to be the default search

engine for a third-party browser, or to be the default or exclusive search engine preloaded for any

search access point on an iOS or Android device.” Defendant Google LLC’s First Set of

Interrogatories to Plaintiffs at ¶ 5. In denying Google’s demand that Plaintiffs answer

inappropriate hypothetical interrogatories, the Court noted:

        I guess I’m sympathetic to what the Department has said in response, which is that,
        how are we supposed to answer a question about what might be legal in a hypothetical
        world when it is just that, a hypothetical world, but much like Google’s negotiations
        involving its partners, involve a number of variables and factors and ultimately asking
        them to make some predictions about what the world would look like in this alternative
        scenario.

Transcript of March 9, 2022 Status Conference, ECF No. 323 at 44:21-45:4.

        Indeed, Courts regularly reject so-called “factual scenario” interrogatories calling for

parties to express their legal positions on hypotheticals. See, e.g., Martin v. Evans, 16-cv-11362-

PBS, 2018 U.S. Dist. LEXIS 233381, at *5 (D. Mass. Feb. 6, 2018) (citing Kendrick v. Sullivan,

125 F.R.D. 1, 3 (D.D.C. 1989)). To be sure, a party may ask for contentions relating to the

application of law to a fact, but Google’s interrogatories do not do that. Instead, they do the

opposite, asking U.S. Plaintiffs to assume factual circumstances not present in this case (or at

least not identified in the Interrogatory) and render an advisory agreement on those

circumstances.28 Old wine in new bottles is still vinegar. Interrogatories No. 8 and 10 indeed



28
  “Requests made in interrogatories which give hypothetical factual situations present issues requiring
pure legal conclusions not rooted in the facts of the case are impermissible under Rule 33 of FRCP.”

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warrant no different treatment from Interrogatory No. 5 from Google’s First Set of

Interrogatories.

        Moreover, answering Google’s additional, hypothetical requests would be incredibly

burdensome. In response to earlier discovery, U.S. Plaintiffs individually identified by Bates

number nearly 600 contracts contributing to Google’s anticompetitive scheme. Google does not

challenge the sufficiency of that response.29 Google’s Interrogatory No. 8, however, demands—

for each such agreement—that U.S. Plaintiffs contend whether “any other” search provider (real

or imagined) could have entered into a “substantially similar” agreement, or if “each agreement”

would have harmed competition regardless of the search provider. A 600-part Interrogatory is

overly burdensome and Google’s attempt to evade the numeric limitations set forth in this

matter’s Amended Scheduling and Case Management Order is improper. See Am. Scheduling

and Case Management Order, ECF No. 108-1 at ¶ 11.

        U.S. Plaintiffs’ responses already provide Google more than what was asked. Both

Interrogatories present a yes or no question: whether U.S. Plaintiffs made certain contentions.

U.S. Plaintiffs responded that they did not. U.S. Plaintiffs have now supplemented to inform

Google of the role its monopoly power plays in the agreements’ illegality, and that, under U.S.

Plaintiffs’ theories in this case, non-monopolist search providers would not violate Section 2 of

the Sherman Act by executing substantially similar contracts. U.S. Plaintiffs are at a loss as to

what other information they could provide, other than repeating the same answer 600 times, and



Priddy v. Health Care Serv. Corp., No. 14-cv-3360, 2016 U.S. Dist. LEXIS 147126, at *9 (C.D. Ill. Oct.
25, 2016) (citing Kendrick, 125 F.R.D. at 2-3).
29
  U.S. Plaintiffs did so in response to Google’s Interrogatory No. 1 in its First Set of Interrogatories,
which requested U.S. Plaintiffs “[i]dentify by bates number each of the agreements You allege to have
harmed competition, what specific provision of each of the agreements harmed competition, and how it
has done so.”


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Google has provided no indication of what else it might want. This Court should again deny

Google’s request that U.S. Plaintiffs opine on hypotheticals.

       C.      Plaintiff States’ Position Statement

       Google’s Second Set of Interrogatories were directed at Plaintiff States and U.S.

Plaintiffs. Interrogatory Nos. 8 and 10 seek information related to issues that overlap Plaintiffs’

allegations. As such, Plaintiff States coordinated with U.S. Plaintiffs on responding to

Interrogatory Nos. 8 and 10 and incorporated by reference their responses to these

interrogatories. As such, we agree with and incorporate by reference U.S. Plaintiffs’ position

statement in Section V.B above.

VI.    The Parties’ Joint Proposal and Disputes Regarding the Presentations
       Requested by the Court

       A.      The Parties’ Joint Statement

       During the February and May status conferences, the Court asked the Parties to provide a

joint proposal regarding presentations to be delivered to the Court before summary judgment

briefs are filed. Since then the Parties have reached agreement on some aspects of the

presentations to the Court. The Parties jointly propose an in-person, six-hour session that allots

three hours to each side. The Parties will endeavor to work together on a joint submission of a

glossary of terms, acronyms, and abbreviations to present to the Court. The Parties also agree

that the slide decks and joint submission should be simultaneously exchanged and submitted to

the Court 48 hours in advance of the presentation. Further, the Parties agree that the proceedings

before the Court will be transcribed, but the information, statements, slides, exhibits, and other

materials presented during these presentations will have no binding evidentiary effect in the

litigation. To this end, the Parties also agree that if a Party refrains from objecting to a statement




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contained in another Party’s oral presentation, slide deck, or other demonstrative, it should not be

deemed a waiver of the Party’s right to object to such statements later in the litigation.

       The Parties have not reached agreement regarding (1) the scope of the presentations, (2)

when the presentations should take place, (3) whether Plaintiffs will be able to address the Court

after Google’s presentation, and (4) whether the courtroom should be opened or closed for the

presentations. The individual position statements regarding these disputed aspects of the

presentations follow below.

       B.      U.S. Plaintiffs’ and Plaintiffs States’ Position Statement

       Following the Court’s instructions, Plaintiffs have put forth a proposal to educate the

Court on the terminology, facts, and specific issues in these actions before summary judgment

briefs are filed. Plaintiffs’ proposal differs from Google’s in four key ways: Plaintiffs’ proposal

(1) allows for the presentations to include, where appropriate, the relevant legal and economic

context; (2) schedules the presentations after the close of expert discovery, (3) permits Plaintiffs

to collectively reserve up to 30 minutes to respond to Google’s presentation, and (4) calls for the

presentations to be made in open court. Plaintiffs’ proposal should be adopted by the Court

because it maximizes efficiency, fairness, and trust in the judicial process.

       First, the Court should not limit the facts that the parties may discuss during their

presentations. Both parties agree that these presentations should not be legal argument. However,

Google goes a step further and takes the position that the presentations should be devoid of any

legal discussion, precluding the parties from presenting the legal and economic context of certain

issues. Recognizing the need for context given the large range of issues in the case, Plaintiffs

propose that the presentations focus on the terminology, facts, and specific issues in these actions

as well as issues and underlying facts that are likely to figure prominently at summary judgment

and/or trial. In practice, Google’s approach would also introduce unnecessary complications to

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these presentations. For example, Google’s approach would invite objections to the scope of the

parties’ presentations as the parties seek to police the unnecessary lines that Google seeks to

draw. A more efficient approach is to allow the parties to use their best judgment about what to

present to the Court while agreeing that they should endeavor to avoid making legal arguments.

       Second, the Court should schedule the presentations after the close of expert discovery

(Nov. 10, 2022) to provide a proper opportunity to prepare. Google proposes that the

presentations be made either in September or October, which would locate the presentations just

as the parties are preparing and taking expert depositions. Given the scope of expert discovery,

scheduling the presentations in September and October would be extremely burdensome. The

parties have together identified 15 experts so far; under the Amended Scheduling and Case

Management Order, the parties have a 45-day window (encompassing 32 business days) to

complete the 10-hour depositions of each of these experts. Scheduling the presentation during

this window would divert resources from expert discovery and risk the parties giving rushed and

less comprehensive presentations.

       Third, the Court should allow Plaintiffs to reserve up to 30 minutes (collectively) to

address any factual discrepancies in Google’s presentation. Google objects to Plaintiffs providing

a reply arguing that such responses are only necessary in adversarial proceedings such as when

motions are heard. This misses the point. The Plaintiffs should have the opportunity to address

any omissions, bias and/or discrepancies in Google’s presentation. Google will, no doubt,

address the Plaintiffs’ presentation during its allotted three hours. For the sake of fairness, the

Court should allow Plaintiffs to do the same.

       Fourth, the Court should hold that these presentations will be made in open court. There

“is a strong presumption in favor of public access to judicial proceedings.” EEOC v. National



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Children’s Center, Inc., 98 F.3d 1406, 1409 (D.C. Cir. 1996) (internal quotations and citations

omitted).30 “That presumption may be outweighed in certain cases by competing interests.”

MetLife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661, 665-66 (2017). However, the

burden is on the party seeking to overcome the presumption of openness to show that the interest

in limiting public access outweighs the presumption. See In re Cendant Corp., 260 F.3d 183, 194

(3d Cir. 2001) (“[T]he party seeking the closure of a hearing or the sealing of part of the judicial

record bears the burden of showing that the material is the kind of information that courts will

protect and that disclosure will work a clearly defined and serious injury to the party seeking

closure.” (internal quotations omitted)); see also New York v. Microsoft, No. CIV A 08-1233,

2002 WL 649385, at *2 (D.D.C. Mar. 28, 2002) (ordering courtroom closed for proceeding after

finding that disclosure of confidential information would result in “clearly defined and very

serious injury” to a non-party). In this District, courts apply a balancing approach to determine

whether the interest in secrecy outweighs the presumption of openness. See e.g., U.S. v Hubbard,

650 F.2d 293, 317-22 (D.C. Cir. 1980). “A seal may be maintained only if the district court, after

considering the relevant facts and circumstances of the particular case, and after weighing the

interests advanced by the parties in light of the public interest and the duty of the courts,

concludes that justice so requires.” MetLife, 865 F.3d at 665-66 (internal quotation marks and

citations omitted); see also Press-Enter. Co. v. Superior Court, 464 U.S. 501, 510 (1984) (“The

presumption of openness may be overcome only by an overriding interest based on findings that

closure is essential to preserve higher values and is narrowly tailored to serve that interest.”);




30
  “Although much of the available case law on the subject of openness arises in the criminal context, the
presumption of openness applies in the civil context as well.” McConnell v. FEC, 251 F. Supp. 2d 919,
925 (D.D.C. 2003) (internal quotation and citations omitted).

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In re Cendant Corp., 260 F.3d at 194 (an order to seal judicial proceedings and records must

articulate “compelling countervailing interests” to be properly issued and valid).

        Here, Google has not and cannot make the necessary showing to close the courtroom for

the presentations. To date, Google has only advanced vague arguments about potentially

sensitive material that may come up during the presentations. Plaintiffs believe that the

presentations will be sufficiently high-level as to not disclose any confidential business

information or trade secrets; if necessary, such information can be shared with the Court in a

manner that does not disclose it to the public.31 Moreover, this is an important law enforcement

proceeding that has garnered significant public interest and should be open to the public.

        If Google makes the requisite showing that the disclosure of its presentation will require

the company to disclose confidential information or trade secrets and this Court finds that

Google’s privacy interest outweigh the public’s right to access this judicial proceeding, then

Plaintiffs respectfully submit that the Court should narrowly exclude that information from

public access. See McConnell v. FEC, 251 F. Supp. 2d 919, 925 (D.D.C. 2003) (“Hubbard . . .

recognized that ‘where both the public interest in access and the private interest in non-disclosure

are strong, partial or redacted disclosure [may] satisfy both interests.’”).

        However, based on the record presented by Google to date, Plaintiffs respectfully request

that the Court deny Google’s request that these presentations be conducted in a closed court.

        C.      Google’s Position Statement

        Following the last status conference, the parties exchanged proposals regarding the

tutorial presentation requested by the Court in recent months. See May 12, 2022 Hr’g Tr. 54:2-


31
  For example, all presentation materials do not have to be shown on the screen viewable by the public,
and a key can be shared with the Court that correlates the identity of a customer to general labels used in
the presentation that allows the Court to follow along with all the relevant information available without
disclosing confidential information.

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25; Feb. 11, 2022 Hr’g Tr. 57:1-58:10. Although the parties reached agreement on several

aspects of the presentation, four points of disagreement remain that Plaintiffs indicated they

would submit to the Court as part of this Joint Status Report. Accordingly, Google has set forth

below its position on these four points.

               1.      The Scope of the Presentation

       Google understood that the Court wanted a presentation focused on pertinent factual

background—as opposed to legal contentions or theories of liability. Plaintiffs have not

identified for Google any particular topics that they may address through their presentation, but

in correspondence Plaintiffs have indicated that they may discuss “the key issues” as well as the

“underlying facts” that they believe “are likely to figure prominently at summary judgment

and/or trial,” June 3, 2022 Ltr. from K Dintzer at 1, and they have argued that “the significance

of the facts is informed by the legal and economic issues in these matters,” June 13, 2022 Ltr.

from K. Dintzer at 2. While the particular facts that the parties deem pertinent will of course be

informed by their views of the claims and defenses, Google proposes that the parties focus on

industry background facts, how the services involved in the case work, and similar factual

subjects that will provide the Court with helpful background and context for summary

judgment. In other words, the presentations would more closely resemble what in other contexts

has been labeled a “tech tutorial” or “science day.” To offer a specific example, the Court

mentioned at the last status conference that it would appreciate additional information regarding

“how the particular search engines operate” and who the parties “think the competitors

are.” May 12, 2022 Hr’g Tr. 54:12-15. Google did not interpret that as a request to prepare a

presentation summarizing or expressly rebutting Plaintiffs’ assertions regarding the applicable

legal principles or the antitrust markets alleged in their Complaints; and Google would propose


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addressing the topics referenced by the Court from a factual perspective rather than delivering a

preview of legal arguments that may be presented at a summary judgment hearing or trial.

                2.      The Timing of the Presentation

        Plaintiffs have proposed scheduling the presentation between November 14 and

November 30, 2022 because “the case would benefit from these presentations occurring after the

close of expert discovery.” June 13, 2022 Ltr. from K. Dintzer at 1. Contrary to Plaintiffs’

suggestion, there is no need to link the presentation to the close of expert discovery if it is

viewed as an opportunity to educate the Court on the pertinent factual background. And as a

practical matter, there are not many business days to choose from during the second half of

November given the Thanksgiving holiday. Although Google will of course be available at the

Court’s convenience, it believes that a date in September or early October would be well

positioned between the deadline for serving rebuttal expert reports (August 5, 2022) and the first

day on which parties may file dispositive motions without leave of Court (November 10, 2022).

                3.      The Allocation of Time Among the Parties

        The parties have agreed that, subject to the Court’s availability, Plaintiffs will be

permitted to present for up to three hours, and then Google will be permitted to present for up to

three hours. The parties disagree, however, about whether Plaintiffs should be allowed to

reserve a portion of their three hours to respond to Google’s presentation. Consistent with its

position regarding the proper scope of the presentation, Google’s view is that there is no basis for

Plaintiffs to reserve time for rebuttal in a setting that is more akin to a tutorial than a motions

hearing.

                4.      Addressing Confidentiality Concerns

        Finally, the parties disagree about how to address concerns relating to the disclosure of

commercially sensitive information that may warrant sealing. In Google’s view, the parties and

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the Court would benefit from a candid exchange that does not require the participants to choose

their words carefully or avoid divulging too many details for fear of describing information that

should not be disclosed publicly. The best way to accomplish that objective is through a

proceeding that is not open to the public, so that both parties and non-parties will have a

reasonable opportunity to identify any redactions that they contend are warranted before the

transcripts, demonstratives, and any recordings or other materials are placed on the public

docket.

          Concerns about the disclosure of non-public information are particularly complicated

because of the significant discovery undertaken of Google as well as numerous third parties –

who can be expected to oppose public disclosure of confidential commercial or technical

information. So that the parties may tailor their presentations in the manner that they believe is

most informative for the Court, rather than having to withhold or sanitize certain information due

to confidentiality concerns, Google submits that the presentations should not in the first instance

be open to the public so that a redacted transcript can be prepared after the presentation and

made available to the public.


Dated: June 15, 2022                            Respectfully submitted,

                                               WILLIAMS & CONNOLLY LLP

                                                By: /s/ John E. Schmidtlein
                                                John E. Schmidtlein (D.C. Bar No. 441261)
                                                Benjamin M. Greenblum (D.C. Bar No. 979786)
                                                Colette T. Connor (D.C. Bar No. 991533)
                                                680 Maine Avenue, SW
                                                Washington, DC 20024
                                                Tel: 202-434-5000
                                                jschmidtlein@wc.com
                                                bgreenblum@wc.com
                                                cconnor@wc.com



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                             WILSON SONSINI GOODRICH & ROSATI P.C.
                             Susan A. Creighton (D.C. Bar No. 978486)
                             Franklin M. Rubinstein (D.C. Bar No. 476674)
                             1700 K Street, NW
                             Washington, DC 20006
                             Tel: 202-973-8800
                             screighton@wsgr.com
                             frubinstein@wsgr.com

                              ROPES & GRAY LLP
                              Mark S. Popofsky (D.C. Bar No. 454213)
                              2099 Pennsylvania Avenue, NW
                              Washington, DC 20006
                              Tel: 202-508-4624
                              Mark.Popofsky@ropesgray.com

                              Counsel for Defendant Google LLC


                             By:     /s/ Kenneth M. Dintzer
                             Kenneth M. Dintzer
                             Karl E. Herrmann
                             U.S. Department of Justice, Antitrust Division
                             Technology & Digital Platforms Section
                             450 Fifth Street NW, Suite 7100
                             Washington, DC 20530
                             Telephone: (202) 227-1967
                             Kenneth.Dintzer2@usdoj.gov
                             Counsel for Plaintiff United States of America




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                             By:     /s/ Bret Fulkerson
                             Bret Fulkerson, Deputy Chief, Antitrust Division
                             Kelsey Paine, Assistant Attorney General
                             Office of the Attorney General, Antitrust Division
                             300 West 15th Street
                             Austin, Texas 78701
                             Bret.Fulkerson@oag.texas.gov
                             Counsel for Plaintiff State of Texas

                             By:     /s/ Adam Miller
                             Rob Bonta, Attorney General
                             Ryan J. McCauley, Deputy Attorney General
                             Adam Miller, Deputy Attorney General
                             Paula Blizzard, Supervising Deputy Attorney
                             General
                             Kathleen Foote, Senior Assistant Attorney General
                             Office of the Attorney General,
                             California Department of Justice
                             455 Golden Gate Avenue, Suite 11000
                             San Francisco, California 94102
                             Adam.Miller@doj.ca.gov
                             Counsel for Plaintiff State of California

                             Leslie Rutledge, Attorney General
                             Johnathan R. Carter, Assistant Attorney General
                             Office of the Attorney General, State of Arkansas
                             323 Center Street, Suite 200
                             Little Rock, Arkansas 72201
                             Johnathan.Carter@arkansasag.gov
                             Counsel for Plaintiff State of Arkansas

                             Ashley Moody, Attorney General
                             R. Scott Palmer, Interim Co-Director, Antitrust
                             Division
                             Nicholas D. Niemiec, Assistant Attorney General
                             Lee Istrail, Assistant Attorney General
                             Office of the Attorney General, State of Florida
                             PL-01 The Capitol
                             Tallahassee, Florida 32399
                             Lee.Istrail@myfloridalegal.com
                             Scott.Palmer@myfloridalegal.com
                             Counsel for Plaintiff State of Florida




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                             Christopher Carr, Attorney General
                             Margaret Eckrote, Deputy Attorney General
                             Daniel Walsh, Senior Assistant Attorney General
                             Charles Thimmesch, Assistant Attorney General
                             Office of the Attorney General, State of Georgia
                             40 Capitol Square, SW
                             Atlanta, Georgia 30334-1300
                             cthimmesch@law.georgia.gov
                             Counsel for Plaintiff State of Georgia

                             Theodore Edward Rokita, Attorney General
                             Scott L. Barnhart, Chief Counsel and Director,
                             Consumer Protection Division
                             Matthew Michaloski, Deputy Attorney General
                             Erica Sullivan, Deputy Attorney General
                             Office of the Attorney General, State of Indiana
                             Indiana Government Center South, Fifth Floor
                             302 West Washington Street
                             Indianapolis, Indiana 46204
                             Scott.Barnhart@atg.in.gov
                             Counsel for Plaintiff State of Indiana


                             Daniel Cameron, Attorney General
                             J. Christian Lewis, Executive Director of
                             Consumer Protection
                             Philip R. Heleringer, Deputy Executive Director of
                             Consumer Protection
                             Jonathan E. Farmer, Assistant Attorney General
                             Office of the Attorney General, Commonwealth of
                             Kentucky
                             1024 Capital Center Drive, Suite 200
                             Frankfort, Kentucky 40601
                             Philip.Heleringer@ky.gov
                             Counsel for Plaintiff Commonwealth of Kentucky




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                             Jeff Landry, Attorney General
                             Christopher J. Alderman, Assistant Attorney
                             General
                             Office of the Attorney General, State of Louisiana
                             Public Protection Division
                             1885 North Third St.
                             Baton Rouge, Louisiana 70802
                             AldermanC@ag.louisiana.gov
                             Counsel for Plaintiff State of Louisiana

                             Dana Nessel, Attorney General
                             Scott Mertens, Assistant Attorney General
                             Michigan Department of Attorney General
                             P.O. Box 30736
                             Lansing, Michigan 48909
                             MertensS@michigan.gov
                             Counsel for Plaintiff State of Michigan

                             Stephen M. Hoeplinger
                             Assistant Attorney General
                             Missouri Attorney General’s Office
                             815 Olive St., Suite 200
                             St. Louis, Missouri 63101
                             Stephen.Hoeplinger@ago.mo.gov

                             Counsel for Plaintiff State of Missouri

                             Lynn Fitch, Attorney General
                             Hart Martin, Special Assistant Attorney General
                             Crystal Utley Secoy, Assistant Attorney General
                             Office of the Attorney General, State of
                             Mississippi
                             P.O. Box 220
                             Jackson, Mississippi 39205
                             Hart.Martin@ago.ms.gov
                             Counsel for Plaintiff State of Mississippi




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Case 1:20-cv-03010-APM Document 361 Filed 06/16/22 Page 50 of 60




                             Austin Knudsen, Attorney General
                             Rebekah J. French, Assistant Attorney General,
                             Office of Consumer Protection
                             Office of the Attorney General, State of Montana
                             P.O. Box 200151
                             555 Fuller Avenue, 2nd Floor
                             Helena, Montana 59620-0151
                             Rebekah.french@mt.gov
                             Counsel for Plaintiff State of Montana

                             Rebecca M. Hartner, Assistant Attorney General
                             Alan Wilson, Attorney General
                             W. Jeffrey Young, Chief Deputy Attorney General
                             C. Havird Jones, Jr., Senior Assistant Deputy
                             Attorney General
                             Mary Frances Jowers, Assistant Deputy Attorney
                             General
                             Office of the Attorney General, State of South
                             Carolina
                             1000 Assembly Street
                             Rembert C. Dennis Building
                             P.O. Box 11549
                             Columbia, South Carolina 29211-1549
                             RHartner@scag.gov
                             Counsel for Plaintiff State of South Carolina




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                             Joshua L. Kaul, Attorney General
                             Gwendolyn J. Lindsay Cooley, Assistant Attorney
                             General
                             Wisconsin Department of Justice
                             17 W. Main St.
                             Madison, Wisconsin 53701
                             Gwendolyn.Cooley@Wisconsin.gov
                             Counsel for Plaintiff State of Wisconsin

                             By:     /s/ Jonathan B. Sallet
                             Jonathan B. Sallet, Special Assistant Attorney
                             General (D.C. Bar No. 336198)
                             Steven Kaufmann, Deputy Attorney General (D.C.
                             Bar No. 1022365 inactive)
                             Diane R. Hazel, First Assistant Attorney General
                             (D.C. Bar No. 1011531 inactive)
                             Colorado Office of the Attorney General
                             1300 Broadway, 7th Floor
                             Denver, CO 80203
                             Tel: 720-508-6000
                             Jon.Sallet@coag.gov
                             Steve.Kaufmann@coag.gov
                             Diane.Hazel@coag.gov
                             Counsel for Plaintiff State of Colorado

                             Joseph Conrad
                             Office of the Attorney General of Nebraska
                             Consumer Protection Division
                             2115 State Capitol Building
                             Lincoln, NE 68509
                             402-471-3840
                             joseph.conrad@nebraska.gov
                             Counsel for Plaintiff Nebraska

                             Brunn W. (Beau) Roysden III, Solicitor General
                             Michael S. Catlett, Deputy Solicitor General
                             Dana R. Vogel, Unit Chief Counsel
                             Christopher M. Sloot, Assistant Attorney General
                             Arizona Office of the Attorney General
                             2005 North Central Avenue
                             Phoenix, Arizona 85004
                             Tel: (602) 542-3725
                             Dana.Vogel@azag.gov
                             Counsel for Plaintiff State of Arizona


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Case 1:20-cv-03010-APM Document 361 Filed 06/16/22 Page 52 of 60




                             Max Merrick Miller
                             Attorney General’s Office for the State of Iowa
                             1305 East Walnut Street, 2nd Floor
                             Des Moines, IA 50319
                             (515) 281-5926
                             Max.Miller@ag.Iowa.gov
                             Counsel for Plaintiff Iowa

                             Elinor R. Hoffmann
                             John D. Castiglione
                             Morgan J. Feder
                             Office of the Attorney General of New York
                             28 Liberty Street, 21st Floor
                             New York, NY 10005
                             212-416-8513
                             elinor.hoffmann@ag.ny.gov
                             john.castiglione@ag.ny.gov
                             morgan.feder@ag.ny.gov
                             Counsel for Plaintiff New York

                             Jonathan R. Marx
                             Jessica Vance Sutton
                             North Carolina Department of Justice
                             114 W. Edenton St.
                             Raleigh, NC 27603
                             919-716-6000
                             Jmarx@Ncdoj.Gov
                             jsutton2@ncdoj.gov
                             Counsel for Plaintiff North Carolina

                             J. David McDowell
                             Jeanette Pascale
                             Christopher Dunbar
                             Office of The Attorney General & Reporter P.O.
                             Box 20207
                             Nashville, TN 37202
                             615-741-3519
                             david.mcdowell@ag.tn.gov
                             jenna.pascale@ag.tn.gov
                             chris.dunbar@ag.tn.gov
                             Counsel for Plaintiff Tennessee




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Case 1:20-cv-03010-APM Document 361 Filed 06/16/22 Page 53 of 60




                             Tara Pincock
                             Attorney General's Office Utah
                             160 E 300 S, Ste 5th Floor
                             PO Box 140874
                             Salt Lake City, UT 84114
                             801-366-0305
                             tpincock@agutah.gov
                             Counsel for Plaintiff Utah

                             Jeff Pickett
                             Senior Assistant Attorney General
                             State of Alaska, Department of Law
                             Office of the Attorney General
                             1031 W. Fourth Avenue, Suite 200
                             Anchorage, Alaska 99501
                             Tel: (907) 269-5100
                             jeff.pickett@alaska.gov
                             Counsel for Plaintiff Alaska

                             Nicole Demers
                             State of Connecticut Office of the Attorney
                             General
                             165 Capitol Avenue, Ste 5000
                             Hartford, CT 06106
                             860-808-5202
                             nicole.demers@ct.gov
                             Counsel for Plaintiff Connecticut

                             Michael Andrew Undorf
                             Delaware Department of Justice
                             Fraud and Consumer Protection Division
                             820 N. French St., 5th Floor
                             Wilmington, DE 19801
                             302-577-8924
                             michael.undorf@delaware.gov
                             Counsel for Plaintiff Delaware




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Case 1:20-cv-03010-APM Document 361 Filed 06/16/22 Page 54 of 60




                             Catherine A. Jackson (D.C. Bar No. 1005415)
                             Elizabeth Gentry Arthur
                             David Brunfeld
                             Office of the Attorney General for the District of
                             Columbia
                             400 6th Street NW
                             Washington, DC 20001
                             202-724-6514
                             catherine.jackson@dc.gov
                             elizabeth.arthur@dc.gov
                             david.brunfeld@dc.gov
                             Counsel for Plaintiff District of Columbia

                             Leevin Taitano Camacho, Attorney General
                             Fred Nishihira, Chief, Consumer Protection
                             Division
                             Benjamin Bernard Paholke, Assistant Attorney
                             General
                             Office of the Attorney General of Guam
                             590 S. Marine Corps Drive, Suite 901
                             Tamuning, Guam 96913
                             Tel: (671)-475-3324
                             bpaholke@oagguam.org
                             Counsel for Plaintiff Guam

                             Rodney I. Kimura
                             Office of the Attorney General of Hawaii
                             Commerce & Economic Development
                             425 Queen Street
                             Honolulu, HI 96813
                             808-586-1180
                             rodney.i.kimura@hawaii.gov
                             Counsel for Plaintiff Hawaii

                             Brett DeLange
                             Office of the Idaho Attorney General
                             Consumer Protection Division
                             954 W. State St., 2nd Fl.
                             PO Box 83720
                             Boise, ID 83720-0010
                             208-334-4114
                             brett.delange@ag.idaho.gov
                             Counsel for Plaintiff Idaho



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                             Blake Harrop
                             Joseph Chervin
                             Office of the Attorney General of Illinois
                             100 W. Randolph St.
                             Chicago, IL 60601
                             312-793-3891
                             bharrop@atg.state.il.us
                             jchervin@atg.state.il.us
                             Counsel for Plaintiff State of Illinois

                             Lynette R. Bakker
                             Office of the Attorney General of Kansas
                             Consumer Protection & Antitrust
                             120 S.W. 10th Avenue, Ste 2nd Floor
                             Topeka, KS 66612-1597
                             785-368-8451
                             lynette.bakker@ag.ks.gov
                             Counsel for Plaintiff Kansas

                             Christina M. Moylan
                             Office of the Attorney General of Maine
                             6 State House Station
                             Augusta, ME 04333-0006
                             207-626-8838
                             christina.moylan@maine.gov
                             Counsel for Plaintiff State of Maine

                             Schonette J. Walker
                             Assistant Attorney General
                             Deputy Chief, Antitrust Division
                             Office of the Attorney General
                             swalker@oag.state.md.us

                             Gary Honick
                             Assistant Attorney General
                             Office of the Attorney General
                             200 St. Paul Place, 19th Floor
                             Baltimore, MD 21202
                             410-576-6480
                             ghonick@oag.state.md.us
                             Counsel for Plaintiff Maryland




                               55
Case 1:20-cv-03010-APM Document 361 Filed 06/16/22 Page 56 of 60




                             Matthew B. Frank, Assistant Attorney General
                             Antitrust Division
                             William T. Matlack, Assistant Attorney General
                             Chief, Antitrust Division
                             Michael B. MacKenzie, Assistant Attorney
                             General
                             Deputy Chief, Antitrust Division
                             Office of the Attorney General
                             One Ashburton Place, 18th Fl.
                             Boston, MA 02108
                             Tel: (617) 727-2200
                             Matthew.Frank@mass.gov
                             William.Matlack@mass.gov
                             Michael.Mackenzie@mass.gov
                             Counsel for Plaintiff Massachusetts

                             Justin Moor, Assistant Attorney General
                             445 Minnesota Street, Suite 1400
                             St. Paul, Minnesota 55101-2130
                             (651) 757-1060
                             justin.moor@ag.state.mn.us
                             Counsel for Plaintiff Minnesota

                             Marie W.L. Martin
                             Michelle Christine Newman
                             Lucas J. Tucker
                             Nevada Office of the Attorney General
                             Bureau of Consumer Protection
                             100 N. Carson Street
                             Carson City, NV 89701
                             775-624-1244
                             mwmartin@ag.nv.gov
                             mnewman@ag.nv.gov
                             ltucker@ag.nv.gov
                             Counsel for Plaintiff Nevada

                             Brandon Garod
                             Office of Attorney General of New Hampshire
                             33 Capitol Street
                             Concord, NH 03301
                             603-271-1217
                             brandon.h.garod@doj.nh.gov
                             Counsel for Plaintiff New Hampshire



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Case 1:20-cv-03010-APM Document 361 Filed 06/16/22 Page 57 of 60




                             Robert Holup
                             New Jersey Attorney General's Office
                             124 Halsey Street, 5th Floor
                             Newark, NJ 07102
                             239-822-6123
                             robert.holup@law.njoag.gov
                             Counsel for Plaintiff New Jersey

                             Mark F. Swanson
                             Cholla Khoury
                             New Mexico Office of the Attorney General
                             408 Galisteo St.
                             Santa Fe, NM 87504
                             Tel: 505.490.4885
                             mswanson@nmag.gov
                             ckhoury@nmag.gov
                             Counsel for Plaintiff New Mexico

                             Parrell D. Grossman
                             Director
                             Elin S. Alm
                             Assistant Attorney General
                             Consumer Protection & Antitrust Division
                             Office of the Attorney General
                             1050 E. Interstate Ave., Suite 200
                             Bismarck, ND 58503
                             701-328-5570
                             pgrossman@nd.gov
                             ealm@nd.gov
                             Counsel for Plaintiff North Dakota

                             Beth Ann Finnerty
                             Mark Kittel
                             Jennifer Pratt
                             Office of The Attorney General of Ohio, Antitrust
                             Section
                             30 E Broad Street, 26th Floor
                             Columbus, OH 43215
                             614-466-4328
                             beth.finnerty@ohioattorneygeneral.gov
                             mark.kittel@ohioattorneygeneral.gov
                             jennifer.pratt@ohioattorneygeneral.gov
                             Counsel for Plaintiff Ohio



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Case 1:20-cv-03010-APM Document 361 Filed 06/16/22 Page 58 of 60




                             Caleb J. Smith Assistant Attorney General
                             Consumer Protection Unit
                             Office of the Oklahoma Attorney General
                             313 NE 21st St
                             Oklahoma City, OK 73105
                             Tel: (405) 522-1014
                             Caleb.Smith@oag.ok.gov
                             Counsel for Plaintiff Oklahoma

                             Cheryl Hiemstra
                             Oregon Department of Justice
                             1162 Court St NE
                             Salem, OR 97301
                             503-934-4400
                             cheryl.hiemstra@doj.state.or.us
                             Counsel for Plaintiff Oregon

                             Tracy W. Wertz
                             Joseph S. Betsko
                             Pennsylvania Office of Attorney General
                             Strawberry Square
                             Harrisburg, PA 17120
                             Tel: (717) 787-4530
                             jbetsko@attorneygeneral.gov
                             twertz@attorneygeneral.gov
                             Counsel for Plaintiff Pennsylvania

                             Johan M. Rosa Rodríguez
                             Assistant Attorney General Antitrust Division
                             Puerto Rico Department of Justice
                             PO Box 9020192
                             San Juan, Puerto Rico 00902-0192
                             Tel: (787) 721-2900, ext. 1201
                             jorosa@justicia.pr.gov
                             Counsel for Plaintiff Puerto Rico

                             David Marzilli
                             Rhode Island Office of the Attorney General
                             150 South Main Street
                             Providence, RI 02903
                             Tel: (401) 274-4400
                             dmarzilli@riag.ri.gov
                             Counsel for Plaintiff Rhode Island



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Case 1:20-cv-03010-APM Document 361 Filed 06/16/22 Page 59 of 60




                             Yvette K. Lafrentz
                             Office of The Attorney General of South Dakota
                             1302 E. Hwy 14, Suite1
                             Pierre, SD 57501
                             605-773-3215
                             yvette.lafrentz@state.sd.us
                             Counsel for Plaintiff South Dakota

                             Ryan G. Kriger
                             Office of The Attorney General of Vermont
                             109 State St.
                             Montpelier, VT 05609
                             802-828-3170
                             ryan.kriger@vermont.gov
                             Counsel for Plaintiff Vermont

                             Sarah Oxenham Allen
                             Tyler Timothy Henry
                             Office of the Attorney General of Virginia
                             Antitrust Unit/Consumer Protection Section
                             202 N. 9th Street
                             Richmond, VA 23219
                             804-786-6557
                             soallen@oag.state.va.us
                             thenry@oag.state.va.us
                             Counsel for Plaintiff Virginia

                             Amy Hanson
                             Washington State Attorney General
                             800 Fifth Avenue, Suite 2000
                             Seattle, WA 98104
                             206-464-5419
                             amy.hanson@atg.wa.gov
                             Counsel for Plaintiff Washington




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Case 1:20-cv-03010-APM Document 361 Filed 06/16/22 Page 60 of 60




                             Douglas Lee Davis
                             Tanya L. Godfrey
                             Office of Attorney General, State of West Virginia
                             P.O. Box 1789
                             812 Quarrier Street, 1st Floor
                             Charleston, WV 25326
                             304-558-8986
                             doug.davis@wvago.gov
                             tanya.l.godfrey@wvago.gov
                             Counsel for Plaintiff West Virginia

                             Benjamin Mark Burningham
                             Amy Pauli
                             Wyoming Attorney General's Office
                             2320 Capitol Avenue
                             Kendrick Building
                             Cheyenne, WY 82002
                             (307) 777-6397
                             ben.burningham@wyo.gov
                             amy.pauli@wyo.gov
                             Counsel for Plaintiff Wyoming




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